 Case 3:23-cr-00023-DJH Document 24-1 Filed 10/10/23 Page 1 of 1 PageID #: 77




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE

UNITED STATES OF AMERICA,            )
                                     )
          PLAINTIFF                  )
                                     )
    v.                               )   CRIMINAL ACTION NO. 3:23-cr-23-DJH
                                     )
LEVELLE O’BANNON (1) and             )
JENNIFER O’BANNON (2)                )
      DEFENDANTS                     )
                                         *******
                                          ORDER

         IT IS HEREBY ORDERED that the Change of Plea date scheduled in the above-styled

case shall be rescheduled to the ___ day of _______________________________, 20__, to

commence at ___:____ __.M.



                                     __________________________________________
                                     JUDGE, FEDERAL WESTERN DISTRICT OF KY




                                     ________________________
                                     DATE
